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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE NORTHERN DISTRICT OF GEORGIA
                             ATLANTA DIVISION


FAIR FIGHT ACTION, INC., et al.,


     Plaintiffs,                               CIVIL ACTION FILE

                                               NO. 1:18-CV-5391-SCJ
V.




BRAD RAFFENSPERGER, et cd.,


     Defendants.




                                       ORDER

        The Court enters the following order for purposes of perfecting the record


as to the deadlines established at the January 30, 2020 hearing concerning the

parties' discovery disputes and scheduling.


        Proposed Scheduling Orders:


            • Plaintiffs shall file a proposed (second amended) scheduling order by
               Friday, January 31, 2020.1
            • Defendants shall file a proposed (second amended) scheduling order
               by Tuesday, February 4, 2020.




' Unless otherwise indicated/ all filings shall be via CM/ECF utilizing the "Notice of
Filing/7 "Proposed Order/" or other appropriate descriptions.
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   List of Employees:


      • On or before Tuesday, February 4, 2020, Defendants shall file a
         complete list of the names of all current and former employees of the
         Secretary of State's Elections Division and Deputy Secretary of
         States/ employed since 2016. This list shall also include job titles and
         job descriptions/ if possible.


   Rule 30(b)(6) deposition motion

      • Plaintiffs' motion for leave to conduct an additional 30(b)(6) witness
         deposition is due Tuesday, February 4,2020.
      • Defendants' response brief is due Monday, February 10, 2020.
      • A reply brief is not necessary.


   Privilege log


      • Defendants privilege log is due at the conclusion of Defendants'
         document production.


   Defendants' expert reports


      • Defendants shall file a notice (per expert) as to when Defendants
         believe their 30-day responsive expert report time period starts.
      • Plaintiffs may file a responsive brief if they contest Defendants'
         notice.


   Plaintiffs' rebuttal experts


      • Plaintiffs shall have two days after the deposition of Defendants' last
         expert to inform the Court as to whether they intend to hire rebuttal
         experts.
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   Expert depositions


      • The Court suggests that the deposition of Dr. Mayer be scheduled
         for the week of February 24, 2020. The Court will also (upon
         notification) provide expert deposition dates for any expert
         depositions that the parties cannot agree on amongst themselves.


   Hard copies of documents


      • Defendants shall provide a written response to Plaintiffs' hearing
         arguments and the Court's question concerning the status of
         discovery searches for hard copies by Tuesday, February 4, 2020.


   PowerPoints, hearing exhibits, demonstrative documents


      • The parties shall email the PowerPoints presented at the
         January 30, 2020 hearing to Pamela Wright/ Courtroom Deputy
         Clerk.
      • All demonstrative documents and hearing exhibits (presented at the
         January 30, 2020 hearing) shall be filed on CM/ECF.

   Discovery correspondence


      • On or before Tuesday, February 4, 2020, Defendants shall file their
         discovery correspondence that relates to the August 2019 through
         December 2019 discovery letters presented by Plaintiffs at the
         January 30, 2020 hearing.



   Weekly stahis reports


      • Beginning Friday, February 7, 2020, the parties shall file weekly
         status reports that detail the status of their discovery efforts and
         notify the Court of any discovery disputes that cannot be resolved
         amongst themselves. The status reports are due on Fridays by
         12:00 P.M.
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   IT IS SO ORDERED this '_M\1_ day of January/ 2020.




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                                HONORABLE STEVE C. JONES
                                UNITED STATES DISTRICT JUDGE
